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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

 TEXAS LEAGUE OF UNITED LATIN                    §
 AMERICAN CITIZENS; NATIONAL                     §
 LEAGUE OF UNITED LATIN                          §
 AMERICAN CITIZENS; and JULIE                    §
 HILBERG, individually and on behalf of          §
 others similarly situated;                      §
                                                 §
      Plaintiffs,                                §
                                                 §
 v.                                              §    CIVIL ACTION NO. 5:19-CV-00074-FB
                                                 §
 DAVID WHITLEY, in his official capacity         §
 as the Secretary of State for the State of      §
 Texas; and KEN PAXTON, in his official          §
 capacity as Attorney General for the State of   §
 Texas,                                          §
                                                 §
      Defendants.                                §


                    BETSY SCHONHOFF’S ADVISORY TO THE COURT

         The undersigned attorney represents Betsy Schonhoff for purposes of this matter. Ms.

Schonhoff advises the Court that she intends to appear before the Court when the hearing on

Plaintiffs’ request for injunctive relief and Defendants’ motions to dismiss resumes.

                                      Respectfully submitted,

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                                      Attorney General of Texas

                                      JEFFREY C. MATEER
                                      First Assistant Attorney General

                                      BRANTLEY STARR
                                      Deputy First Assistant Attorney General

                                      DARREN L. McCARTY
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                               CERTIFICATE OF SERVICE

       I hereby certify this Advisory was filed electronically (via CM/ECF) on February 21, 2019,
and that the persons identified below were served by CM/ECF:
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